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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:
                                                                             Chapter 11
                                                              1
               Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On October 13, 2023, at my direction and under my supervision, employees of Stretto
           caused the following document to be served via first-class mail on the service list attached hereto
           as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                       Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Reject
                        Unexpired Leases of Nonresidential Real Property, Effective as of October 31, 2023,
                        and (B) Abandon De Minimis Property in Connection Therewith; and (II) Granting
                        Related Relief (Docket No. 290)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           document via electronic service.


           Dated: October 17, 2023                                                    _____________________________
                                                                                             Andrew K. Fitzpatrick
           State of Colorado                )
                                            ) SS.
           County of Denver                 )

           Subscribed and sworn before me this 17th day of August 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)




           ______________________________________________
           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                                                Exhibit A




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                                                                                            Exhibit A
                                                                                      Served via First-Class Mail


                                Name                                      Attention                    Address 1                            Address 2                   City     State     Zip     Country
 Internal Revenue Service                                                              PO Box 7346                                                               Philadelphia   PA     19101-7346
 Office of the Attorney General for the District of Columbia                           441 4Th St Nw, Ste 1100S                                                  Washington     DC     20001
 Office of the Attorney General for the District of Puerto Rico                        350 Carlos Chardón Street                Torre Chardón, Suite 1201        San Juan       PR     00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                               501 Washington Ave                                                        Montgomery     AL     36104
 Office of the Attorney General for the State of Alaska                                1031 W 4th Ave, Ste 200                                                   Anchorage      AK     99501
 Office of the Attorney General for the State of Arizona                               2005 N Central Ave                                                        Phoenix        AZ     85004
 Office of the Attorney General for the State of Arkansas                              323 Center St, Ste 200                                                    Little Rock    AR     72201
 Office of the Attorney General for the State of California                            PO Box 944255                                                             Sacramento     CA     94244-2550
 Office of the Attorney General for the State of Colorado                              Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl           Denver         CO     80203
 Office of the Attorney General for the State of Connecticut                           165 Capitol Ave                                                           Hartford       CT     06106
 Office of the Attorney General for the State of Florida                               The Capitol Pl-01                                                         Tallahassee    FL     32399
 Office of the Attorney General for the State of Georgia                               40 Capitol Sq Sw                                                          Atlanta        GA     30334
 Office of the Attorney General for the State of Hawaii                                425 Queen Street                                                          Honolulu       HI     96813
 Office of the Attorney General for the State of Idaho                                 700 W. Jefferson St, Suite 210                                            Boise          ID     83720
 Office of the Attorney General for the State of Illinois                              James R. Thompson Center                 100 W. Randolph St               Chicago        IL     62706
 Office of the Attorney General for the State of Indiana                               Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis   IN     46204
 Office of the Attorney General for the State of Iowa                                  Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines     IA     50319
 Office of the Attorney General for the State of Kansas                                120 SW 10Th Ave, 2nd Fl                                                   Topeka         KS     66612
 Office of the Attorney General for the State of Kentucky                              Capitol Building                         700 Capitol Ave Ste 118          Frankfort      KY     40601
 Office of the Attorney General for the State of Louisiana                             1885 N. Third St                                                          Baton Rouge LA        70802
 Office of the Attorney General for the State of Maine                                 6 State House Station                                                     Augusta        ME     04333
 Office of the Attorney General for the State of Maryland                              200 St. Paul Pl                                                           Baltimore      MD     21202
 Office of the Attorney General for the State of Massachusetts                         1 Ashburton Place, 20Th Floor                                             Boston         MA     02108
 Office of the Attorney General for the State of Michigan                              G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing        MI     48909
 Office of the Attorney General for the State of Minnesota                             445 Minnesota St, Ste 1400                                                St. Paul       MN     55101
 Office of the Attorney General for the State of Mississippi                           Walter Sillers Building                  550 High St Ste 1200             Jackson        MS     39201
 Office of the Attorney General for the State of Missouri                              Supreme Court Building                   207 W High St                    Jefferson City MO 65101
 Office of the Attorney General for the State of Montana                               215 N. Sanders                           Justice Building, Third Fl       Helena         MT     59601
 Office of the Attorney General for the State of Nebraska                              2115 State Capitol                                                        Lincoln        NE     68509
 Office of the Attorney General for the State of Nevada                                Old Supreme Court Building               100 N Carson St                  Carson City    NV     89701
 Office of the Attorney General for the State of New Hampshire                         Nh Department Of Justice                 33 Capitol St.                   Concord        NH     03301
 Office of the Attorney General for the State of New Jersey                            Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton        NJ     08611
 Office of the Attorney General for the State of New Mexico                            408 Galisteo Street                      Villagra Building                Santa Fe       NM     87501
 Office of the Attorney General for the State of New York                              The Capitol                              2nd Floor                        Albany         NY     12224
 Office of the Attorney General for the State of North Carolina                        114 W Edenton St                                                          Raleigh        NC     27603
 Office of the Attorney General for the State of North Dakota                          State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck       ND     58505
 Office of the Attorney General for the State of Ohio                                  State Office Tower                       30 E Broad St 14Th Fl            Columbus       OH     43215
 Office of the Attorney General for the State of Oklahoma                              313 Ne 21St St                                                            Oklahoma City OK      73105
 Office of the Attorney General for the State of Oregon                                1162 Court St NE                                                          Salem          OR     97301
 Office of the Attorney General for the State of Pennsylvania                          Strawberry Square 16Th Fl                                                 Harrisburg     PA     17120
 Office of the Attorney General for the State of Rhode Island                          150 S Main St                                                             Providence     RI     02903
 Office of the Attorney General for the State of South Carolina                        Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia       SC     29201
 Office of the Attorney General for the State of South Dakota                          1302 E Highway 14, Ste 1                                                  Pierre         SD     57501
 Office of the Attorney General for the State of Tennessee                             301 6Th Ave N                                                             Nashville      TN     37243
 Office of the Attorney General for the State of Texas                                 300 W. 15Th St                                                            Austin         TX     78701
 Office of the Attorney General for the State of Utah                                  Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City UT     84114
 Office of the Attorney General for the State of Vermont                               109 State St.                                                             Montpelier     VT     05609
 Office of the Attorney General for the State of Virginia                              202 N. Ninth St.                                                          Richmond       VA     23219
 Office of the Attorney General for the State of Washington                            1125 Washington St Se                                                     Olympia        WA 98501
 Office of the Attorney General for the State of Washington                            PO Box 40100                                                              Olympia        WA 98504

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                                                                                                     Served via First-Class Mail


                                Name                                          Attention                               Address 1                          Address 2              City     State     Zip         Country
 Office of the Attorney General for the State of West Virginia                                        State Capitol, 1900 Kanawha Blvd E     Building 1 Rm E-26            Charleston    WV 25305
 Office of the Attorney General for the State of Wisconsin                                            17 West Main Street, Room 114 East P                                 Madison       WI    53702
 Office of the Attorney General for the State of Wyoming                                              Kendrick Building                      2320 Capitol Ave              Cheyenne      WY 82002
 Office of The U.S. Trustee for the District of Delaware           Attn: Linda Casey, Esq.            844 N King St #2207                    Lockbox 35                    Wilmington    DE    19801
 Regus Management Group                                                                               15305 Dallas Pkwy Fl. 12                                             Addison       TX    75001-4637
                                                                   Attn: Andrew Calamari, Regional    New York Regional Office, Brookfield
 Securities And Exchange Commission                                Director                           Place                                  200 Vesey Street, Suite 400   New York      NY   10281-1022
 Securities And Exchange Commission                                Attn: Lara Shalov Mehraban         100 Pearl St                           Suite 20-100                  New York      NY   10004-2616
 Securities And Exchange Commission                                Attn: Secretary of The Treasury    100 F Street, NE                                                     Washington    DC   20549
 SLS Financial Services, Inc.                                                                         PO Box 412534                                                        Kansas City   MO   64141
 US Attorney’s Office for the District of Delaware                                                    1313 N Market Street                                                 Wilmington    DE   19801




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                                                Exhibit B




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                                                                               Exhibit B
                                                                         Served via Electronic Mail

                               Name                                         Attention 1                      Attention 2                             Email
                                                                 c/o Pashman Stein Walder        Attn: John W. Weiss, William R.     jweiss@pashmanstein.com
Allegheny Casualty Company                                       Hayden, P.C.                    Firth, III                          wfirth@pashmanstein.com
Allsectech, Inc.                                                 Attn: Aviral Dhirendra                                              aviral198828@gmail.com
                                                                                              Attn: David M. Fournier & Evelyn J.    david.fournier@troutman.com
                                                                 c/o Troutman Pepper Hamilton Meltzer & Marcy J. McLaughlin          evelyn.meltzer@troutman.com
AnchorCoin LLC                                                   Sanders LLP                  Smith                                  marcy.smith@troutman.com
Austin Ward                                                                                                                          austindward@proton.me
                                                                 c/o Meyers, Roman, Friedberg
Coinbits, Inc.                                                   & Lewis LPA                     Attn: David M Newumann              dneumann@meyersroman.com
                                                                                                                                         susheelkirpalani@quinnemanuel.com
                                                                                                                                         pattytomasco@quinnemanuel.com
                                                                                                   Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                   Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd., c/o Quinn Emanuel Urquhart & Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
and Bittrex Malta Ltd.                                               Sullivan, LLP                 Caytas                                joannacaytas@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd., c/o Young Conaway Stargatt & Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
and Bittrex Malta Ltd.                                               Taylor, LLP                   Enos                                  kenos@ycst.com
DMG Blockchain Solutions, Inc.                                       Attn: Steven Eliscu                                                 steve@dmgblockchain.com
                                                                     c/o Gellert Scali Busenkell &
Kado Software, Inc.                                                  Brown, LLC                    Attn: Michael Van Gorder              mvangorder@gsbblaw.com

 Kado Software, Inc.                                             c/o Raines Feldman Littrell LLP Attn: David S. Forsh                dforsh@raineslaw.com
 Net Cents Technology, Inc.                                      Attn: Clayton Moore                                                 claytonmoore@net-cents.com
 Office of the Attorney General for the District of Columbia                                                                         oag@dc.gov
 Office of the Attorney General for the State of Alabama                                                                             consumerinterest@Alabamaag.gov
 Office of the Attorney General for the State of Alaska                                                                              attorney.general@alaska.gov
 Office of the Attorney General for the State of Arizona                                                                             BCEIntake@azag.gov
 Office of the Attorney General for the State of California                                                                          xavier.becerra@doj.ca.gov
 Office of the Attorney General for the State of Colorado                                                                            DOR_TAC_Bankruptcy@state.co.us
 Office of the Attorney General for the State of Connecticut                                                                         attorney.general@ct.gov
 Office of the Attorney General for the State of Hawaii                                                                              hawaiiag@hawaii.gov
 Office of the Attorney General for the State of Illinois                                                                            michelle@lisamadigan.org
 Office of the Attorney General for the State of Iowa                                                                                consumer@ag.iowa.gov
 Office of the Attorney General for the State of Kentucky                                                                            KyOAGOR@ky.gov
 Office of the Attorney General for the State of Louisiana                                                                           ConstituentServices@ag.louisiana.gov
 Office of the Attorney General for the State of Maryland                                                                            oag@oag.state.md.us
 Office of the Attorney General for the State of Massachusetts                                                                       ago@state.ma.us
 Office of the Attorney General for the State of Michigan                                                                            miag@michigan.gov
 Office of the Attorney General for the State of Missouri                                                                            consumer.help@ago.mo.gov
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                                                                        Served via Electronic Mail

                              Name                                        Attention 1                          Attention 2                            Email
Office of the Attorney General for the State of New Hampshire                                                                         attorneygeneral@doj.nh.gov
Office of the Attorney General for the State of North Dakota                                                                          ndag@nd.gov
Office of the Attorney General for the State of Oklahoma                                                                              questions@oag.ok.gov
Office of the Attorney General for the State of Utah                                                                                  uag@utah.gov
Office of the Attorney General for the State of Vermont                                                                               ago.info@vermont.gov
Office of the Attorney General for the State of West Virginia                                                                         consumer@wvago.gov
OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP              Attn: Sommer L. Ross                slross@duanemorris.com
                                                                c/o McElroy, Deutsch,
Philadelphia Indemnity Insurance Company                        Mulvaney & Carpenter, LLP         Attn: Gary D. Bressler              gbressler@mdmc-law.com
Polaris Ventures                                                Attn: Ruairi Donnelly                                                 ruairi.donnelly@polaris-ventures.org
                                                                c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                                Glovsky and Popeo, P.C.           Attn: Abigail O’Brient              aobrient@mintz.com
                                                                c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                                Glovsky and Popeo, P.C.           Attn: Joseph R. Dunn                jrdunn@mintz.com
                                                                c/o Young Conaway Stargatt &      Attn: Michael R. Nestor & Ryan M.   mnestor@ycst.com
Polaris Ventures                                                Taylor, LLP                       Bartley                             rbartley@ycst.com
                                                                                                                                        rstark@brownrudnick.com
                                                                                                  Attn: Robert J. Stark & Bennett S.    bsilverberg@brownrudnick.com
Counsel to the Official Committee of Unsecured Creditors                                          Silverberg & Kenneth J. Aulet &       kaulet@brownrudnick.com
                                                                c/o Brown Rudnick LLP             Jennifer M. Schein                    jschein@brownrudnick.com
Counsel to the Official Committee of Unsecured Creditors                                          Attn: Tristan G. Axelrod & Matthew taxelrod@brownrudnick.com
                                                                c/o Brown Rudnick LLP             A. Sawyer                             msawyer@brownrudnick.com
Counsel to the Official Committee of Unsecured Creditors        c/o Womble Bond Dickinson         Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
                                                                (US) LLP                          Kosman                                elazar.kosman@wbd-us.com
Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                              nyrobankruptcy@sec.gov
Stably Corporation                                              Attn: Ivan Inchauste                                                    ivan@stably.io
                                                                                                                                        JWilliamson@gravislaw.com
Stably Corporation                                              c/o Gravis Law, PLLC              Attn: Jill Williamson                 MPyfrom@gravislaw.com
                                                                                                                                      JOLeary@gravislaw.com
                                                                                                                                      DCannon@gravislaw.com
                                                                                                                                      MHess@gravislaw.com
Stably Corporation                                              c/o Gravis Law, PLLC              Attn: John W. O'Leary               HHarden@gravislaw.com
                                                                                                  Attn: Tobias S. Keller & Traci L.   tkeller@kbkllp.com
Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP     Shafroth                            tshafroth@kbkllp.com
                                                                c/o Pashman Stein Walder
Tiki Labs, Inc. dba Audius Inc.                                 Hayden PC                         Attn: John W. Weiss                 jweiss@pashmanstein.com
US Attorney’s Office for the District of Delaware                                                                                     usade.press@usdoj.gov
Yousef Abbasi                                                                                                                         Yousef.a.abbasi@gmail.com

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